                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                                CRIMINAL NO. 3:01CR151



UNITED STATES OF AMERICA                    )
                                            )
                                            )
              vs.                           )              ORDER
                                            )
                                            )
ERIC LOWERY, et al.,                        )
                                            )


       THIS MATTER is before the Court on the Government’s request for destruction of a

firearm introduced into evidence during the trial of Defendant Lamar Redfern.

       Because there is no certificate attached to the motion showing defense counsel have been

served with the motion,

       IT IS, THEREFORE, ORDERED that the Government’s request is DENIED without

prejudice to renewal upon proper showing of service on defense counsel.




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                         Signed: July 7, 2005




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